     Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 1 of 14

Russia’s Alfa Group

Overview

Alfa Group is a $20-billion Russian conglomerate involved in banking and energy that
maintains extremely close ties to the Kremlin, and President Vladimir Putin. Alfa operates
in the US with more success and sophistication than any other Russian business group. The
Alfa Group shareholders also control an international energy and telecommunications
empire through Luxembourg-registered LetterOne Holdings.

Mikhail Fridman, a Ukrainian by birth, founded the group as a commodities trader in 1989.
He soon recruited former government minister Pyotr Aven to develop Alfa Bank. With
Russian partners, Alfa Group established control over Siberian oil company TNK, which
they merged with BP’s Russian assets. Alfa’s shareholders gained more than US$9 billion
when the company was sold at the top of the market in 2013. Much of these funds were re-
invested internationally through LetterOne.

Fridman and Aven are legendary for their aggressive tactics, which include espionage and
harassment of adversaries. Alfa Group is perhaps most notorious for an alleged campaign of
intimidation, harassment and espionage against BP in an effort to pressure the British oil
giant to sell its Russian oil interests. The “orchestrated campaign of harassment,” which
allegedly included Alfa-instigated police raids and spying, famously resulted in the 2008
departure of BP executive Robert Dudley, an American citizen, from Moscow. 1 Dudley is
today BP’s CEO.

According to a US court ruling in 2005, the two men “have been dogged by allegations of
corruption and illegal conduct. Russian newspapers have published repeated claims that
Aven and Fridman have rigged the auction of state assets through government connections,
threatened the lives of government officials, ordered the assassination of a mobster, and
engaged in narcotics trafficking and money laundering.” 2 Despite the allegations, the men
have avoided visa bans and other sanctions imposed on oligarchs with similarly colorful
pasts, such as Oleg Deripaska.

As Minister of Foreign Economic Relations, Aven worked with Russian President Vladmir
Putin in the government of St. Petersburg in the early 1990s and is credibly accused of
involvement in some of Putin’s earliest corruption schemes. Not least, Aven ignored
corruption accusations leveled against Putin for false registration of licenses in his role as the
head of the city’s Committee for Foreign Economic Liaison 3. Critics allege this is suggestive
of collusion between Aven and Putin, and point to Alfa’s subsequent charmed fortunes in
Moscow -- including successful campaigns against two of Putin’s closest Kremlin allies with
no retaliation whatsoever.



1 https://www.theguardian.com/business/2008/jul/25/bp.oil
2 https://www.gpo.gov/fdsys/pkg/USCOURTS-dcd-1_00-cv-02208/pdf/USCOURTS-dcd-1_00-cv-02208-
0.pdf
3 “Putin’s Kleptocracy: Who Owns Russia,” Karen Dawisha, accessed electronically.




                                                                                                 1

                                                                                      FBI_ALFA_000060
                                                                                   SCO_FBIPROD_000060
                                                                                            SCO-001659
       Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 2 of 14

Alfa enjoys high-level contacts in Washington, keeps influential figures on retainer, funds
American political campaigns through its US network, and has sponsored numerous
individuals who now serve in government and the media. Alfa is a particularly skilled
practitioner of deep lobbying through numerous influential US think tanks and several
“fellowship” programs that build loyalty among policymakers.

Aven sits on the board of directors of Moscow’s New Economic School, Russia’s only
privately-funded university, which Alfa funds generously. Carter Page, a foreign policy
adviser to Republican presidential nominee Donald Trump, addressed the school’s
graduating ceremony on July 8, 2016 – a trip criticized by Senate minority leader Harry Reid,
among others. His speech was supportive of Putin and harshly critical of the U.S. and
President Barack Obama. Obama addressed the school’s graduating class in 2009.


US Influence

Alfa’s leading American political adviser is former diplomat Richard Burt, who has
confirmed that he contributed material to an April 27 foreign-policy speech by Donald
Trump but denies acting as a Trump campaign advisor. 4 Burt, a former U.S. ambassador to
Germany, works for McLarty Associates.

Alfa’s other major advisor in Washington for many years was the Republican lobbyist Ed
Rogers of BGR. Lobbying records show that Alfa quietly terminated BGR in the spring of
2015 as Trump was launching his presidential campaign. Rogers is a frequent critic of
Trump.

White House records show that Fridman and Aven made multiple visits to the White House
complex in 2009-2012, meeting privately with top US national security and foreign policy
officials. The meetings, which were arranged by Rogers and Burt, ended as relations between
the Obama administration and the Putin regime soured. Sources have indicated that Fridman
and Aven were tasked by the Kremlin with negotiating Russia’s accession to the WTO with
the White House – a strong indication of Putin’s trust in the executives as government
proxies.

In an effort to avoid economic sanctions and a poor domestic investment climate, Fridman
and Aven in 2014-15 moved tens of billions of dollars of capital to Europe into a fund called
LetterOne Holdings SA, based in Luxembourg. The fund nonetheless became entangled in
controversy in 2015 over its acquisition of oil blocks in the North Sea -- which the UK
threatened to force the group to divest. It is believed among Russia watchers that Fridman
and Aven are almost as eager as the Kremlin to get US and EU sanctions on Russia lifted.

Alfa has long sought to buy more major assets in the US, and is believed to have made a
sustained but ultimately unsuccessful attempt to buy a US financial institution during the
early years of the Obama administration. It is likely the bid was blocked by US regulatory



4   http://www.reuters.com/article/us-usa-election-trump-adviser-idUSKCN0YU2I9


                                                                                              2

                                                                                    FBI_ALFA_000061
                                                                                 SCO_FBIPROD_000061
                                                                                          SCO-001660
     Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 3 of 14

concerns. In June of 2016, LetterOne announced it would invest $2-3 billion in the US
health care industry. 5


Alfa Group Background

Fridman founded commodity trader Alfa Eko – the core of the future Alfa Group – in 1989
with two university friends, German Khan and Alexey Kuzmichev. In 1991, they launched
Alfa Capital and Alfa Bank. Former government minister Peter Aven joined the group in
1993. The identity of the group’s beneficial shareholders in the early years remains a
mystery. 6

Aven brought crucial and lasting government ties to the group, as did the recruitment of
Leonid Vid, the former head of Gosplan, the Soviet planning agency, and he helmed Alfa
Bank during its critical early years of growth. Another key hire was Vladislav Surkov, a
former military intelligence officer who later served President Putin as his chief spin-doctor
in a series of senior positions (today he is an advisor) 7. Fridman himself became a key
political figure during the 1996 re-election campaign of President Boris Yeltsin, when he
was one of architects of the media blitz that helped defeat the surging communists.

In the late 1990s, Alfa Group recruited a number of Western-trained executives, many with
Russian backgrounds. These included such figures as bankers Alex Knaster and Mikhail
Alexandrov, the latter a former Credit Suisse banker who had advised the Russian
government on privatization. Alfa Bank in particular became known for hiring top Western
talent. These moves were spun as signs of an overall ‘Western’ approach to business.

At the same time, Alfa Group employed a range of tactics that earned it a reputation as one
of Russia’s must successful ‘raiders’. In a common tactic, Alfa would acquire a minority
shareholding in companies it knew or suspected to be acquisition targets by foreign or
domestic groups, and carried out more or less classic greenmail.

It also made frequent use of Russia’s flawed bankruptcy laws, acquiring debt in an enterprise
or one of its subsidiaries then using local courts to obtain default and bankruptcy judgments.
Most famously, these tactics were used at oil-production subsidiary Chernogorneft to gain a
blocking stake in oil company Sidanco in the late 1990s 8.

Alfa Group also faced much graver allegations regarding its conduct in this era. The Center
for Public Integrity (CPI) published an article in 2000 repeating claims made in 1999 in
Russian newspapers, as well as allegations made by a senior Russian parliamentarian, and
backed by additional sources. The CPI article claimed Fridman and Aven were involved in
drug trafficking, money laundering and association with organized crime. Fridman and Aven
filed a defamation suit in 2005, which nearly bankrupted the group but was eventually tossed

5 http://www.letterone.com/our-businesses/l1-health
6 http://www.ft.com/cms/s/0/b47de3d4-c325-11e4-ac3d-00144feab7de.html#axzz4IwVVcBT6
7 https://lenta.ru/lib/14159273/full.htm
8 http://www.nytimes.com/1999/08/13/business/russia-with-bankruptcy-high-cost-for-bp-amoco-s-

investment-oil-concern.html?pagewanted=all


                                                                                                 3

                                                                                        FBI_ALFA_000062
                                                                                     SCO_FBIPROD_000062
                                                                                               SCO-001661
     Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 4 of 14


out on the grounds they were public figures 9. Separately, Alfa was also condemned by the
United Nations for violating sanctions in the Iraq oil-for-food program 10.

Entering the Putin era, Alfa Group was firmly established as one of the country’s most
powerful business groups and would only grow more powerful under the new president.
Spin-doctor Surkov became the president’s new deputy chief of staff, launching the regime’s
youth group and other ideological projects 11. And Aven, who has had a relationship with
Putin going back to at least 1992, solidified his position as one of his closest advisors. In
addition, Fridman became a member of the Public Chamber, a high profile if cosmetic
project close to the president’s heart.

During the 2000s, Alfa Group would demonstrate the strength of its political ties by taking
on close associates of Vladimir Putin and consistently winning. The first example was the
defeat of long-time Putin associate and then telecommunications minister, Leonid Reiman,
in a fight for control over Megafon, one of Russia’s top cellular carriers 12. Notably, Alfa
launched this fight and prevailed in the aftermath of the collapse of Yukos and exiling of its
shareholders.

Alfa Group achieved its greatest success in a battle with Igor Sechin, the head of state oil
giant Rosneft and a member of Putin’s circle. This fight emerged from Alfa’s war with joint
venture partner BP, first in 2008 and later in 2011, for strategic control over their TNK-BP
joint venture. Alfa’s strong arm tactics, including the bugging of the office of Robert Dudley,
then head of the Russian venture and now BP CEO, did not bring any recriminations from
the Kremlin 13.

In 2011, Alfa initiated fresh hostilities to force BP to meet its demands and push Rosneft to
buy it out on the most favorable terms possible. The group had installed US-trained oil
executive Stan Polovets as the head of the Alfa-BP joint venture and he led a brutal PR
campaign against BP 14. Simultaneously, Alfa sponsored third party lawsuits in obscure
Siberian courts seeking billions of dollars in damages to tie up BP and Rosneft for months to
improve their negotiating position 15.

Alfa Group used these trademark tactics in a series of other conflicts with foreign business
partners, including Norway’s Telenor and Turkey’s Cukurova. They also took on powerful
Russian business figures, including billionaire oligarch Alisher Usmanov over Megafon and
billionaire oligarch Yevgeny Yevtushenkov’s MTS over a Kyrgyz operator, Bitel. These


9 https://www.gpo.gov/fdsys/pkg/USCOURTS-dcd-1_00-cv-02208/pdf/USCOURTS-dcd-1_00-cv-02208-
0.pdf
10 http://www.foxnews.com/projects/pdf/final_off_report.pdf
11 http://www.theatlantic.com/international/archive/2014/11/hidden-author-putinism-russia-vladislav-

surkov/382489/
12 http://www.wsj.com/articles/SB112856247619561303
13 http://www.telegraph.co.uk/finance/newsbysector/energy/8286767/TNK-BP-Bob-Dudley-and-the-

billionaire-Russian-partners.html
14 http://www.reuters.com/article/bp-rosneft-aar-idUSLDE70R0WT20110128
15 http://www.nytimes.com/2011/11/12/business/global/bp-wins-legal-victory-for-its-russian-joint-

venture.html?_r=0


                                                                                                       4

                                                                                         FBI_ALFA_000063
                                                                                      SCO_FBIPROD_000063
                                                                                                  SCO-001662
     Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 5 of 14

moves indicate Alfa has serious clout: Both Usmanov and Yevtushenkov are classified as
suspected organized crime figures by Western law enforcement agencies.

In almost every dispute, the Alfa group has prevailed and the Russian authorities have
remained silent. The recruitment of prominent Western figures, such as Vodafone founder
Sir Julian Horn-Smith and former UK foreign secretary Lord Douglas Hurd for Dutch
telecommunications holding Altimo in 2006, have provided the crucial appearance of
respectability for Western audiences and regulators 16.

The well-timed sale of TNK-BP to Rosneft in 2013 netted Alfa Group more than US$9
billion. It appears the shareholders invested much of these funds into LetterOne, reportedly
owned by Fridman and Khan 17, where former BP boss Lord Browne was made executive
chairman of energy projects 18. Even ahead of sanctions in 2014, the group put out a clear
message that it was focusing on investments abroad 19.

In fact, the group was acting in line with a new policy of the Putin regime to encourage
Kremlin-friendly Russian conglomerates invest abroad in a variety of sectors, including
energy and telecommunications. This strengthens Russia’s ability to exert soft power
influence in Europe and the Middle East, the two key regions to date for Alfa Group
internationally. Fridman claims to spend most of his time abroad, but this claim may be
more to ease concerns of European regulators (such as the UK’s effort to force Fridman to
sell North Sea oil fields in 2015) 20.

Today, Alfa Group and LetterOne appear to have deliberately distanced themselves from
each other in terms of branding and promotion, despite their underlying common
shareholding structures.

As the face of Alfa Bank, Peter Aven remains the group’s key interface with the Kremlin. It
appears his importance has only grown. Alfa Group, and specifically Alfa Bank, have a long-
standing presence in the US and the UK. Aven has the ability to be a back channel to
government actors as he and Fridman were representing the Kremlin in WTO accession
negotiations in 2010-2012. And Alfa has long invested in lobbying in the US, an investment
that is paying dividends during the current US elections.

Alfa Group continues to consist of several shareholders, but Fridman and Aven are the key
players in both business and political terms. They are among the richest men in Russia.
Fridman was ranked the second richest man in Russia in 2016, with a fortune of US$13.3




16 http://www.ft.com/cms/s/0/512fda9c-46b2-11db-ac52-0000779e2340.html#axzz4IwVVcBT6
17 http://www.bloomberg.com/news/articles/2015-10-14/eon-to-sell-norwegian-oil-and-gas-assets-to-dea-for-
1-6-billion
18 http://www.institutionalinvestor.com/article/3450336/banking-and-capital-markets-emerging-

markets/alfas-mikhail-fridman-skirts-russian-sanctions-to-invest-abroad.html#/.V8c5WmVlt3I
19 http://www.institutionalinvestor.com/article/3450336/banking-and-capital-markets-emerging-

markets/alfas-mikhail-fridman-skirts-russian-sanctions-to-invest-abroad.html#/.V8c5WmVlt3I
20 http://www.ft.com/cms/s/0/e258a2b0-e76c-11e4-a01c-00144feab7de.html#axzz4IwVVcBT6




                                                                                                       5

                                                                                            FBI_ALFA_000064
                                                                                         SCO_FBIPROD_000064
                                                                                                  SCO-001663
     Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 6 of 14


billion, narrowly behind gas tycoon Leonid Mikhelson 21. Aven is ranked 19th in Russia with
a fortune of US$5.1 billion 22.

Fridman and Aven are among the last surviving oligarchs who emerged in the 1990s,
alongside such Kremlin allies as Oleg Deripaska, Vladimir Potanin and Mikhail Prokhorov.
While the latter three oligarch have at times in recent years been forced by the Kremlin to
publicly play the role of vassal, the Alfa tycoons are far more powerful, and are among the
rare businessmen who do not require an intermediary to deal with President Putin.

Having exited the Russian oil sector, they also do not have any common interests or
conflicts with the so-called Petersburg clan around the president, consisting of such KGB-
linked figures as the Kovalchuk brothers and Gennady Timchenko. Similarly, they do not
have dealings with rougher types such as Suleiman Kerimov or Zivyadun Magomedov,
who have prospered from links to the prime minister and members of his cabinet. This lack
of domestic conflicts, enormous financial resources and powerful Kremlin support put them
in a unique position.



Mikhail Fridman Background

Mikhail Fridman was born on April 21, 1964 in Lviv, Ukraine. He attended the Moscow
Institute of Steel and Alloys, where he met two of his future business partners, Gref and
Kuzmichev. In the late 1980s, according to various accounts, Fridman launched cooperative
businesses to deliver packages and wash windows 23. In later interviews, Fridman would
emphasize that he was an outsider in Moscow, in particular because he was Jewish 24.

The rapid growth of Alfa Group in the early 1990s was made possible by Fridman’s ability to
recruit politically connected figures, such as Aven, and later recruit Western-trained
managers. By the mid-1990s, however, Fridman was not in a position to compete with many
of the leading oligarchs of the time, who parlayed political connections and capital to
engineer the infamous ‘loans for shares’ deals that essentially privatized giant industrial and
natural resources assets for a few pennies on the dollar.

The fact that Fridman missed this opportunity meant Alfa would have to fight incumbent
owners, such as Vladimir Potanin, for energy and natural resource assets. It appears this
strategy, born of necessity, would become Fridman’s trademark in all of his dealings.

Fridman emerged politically in 1995, when he joined other major oligarchs in a project to
ensure the re-election of President Boris Yeltsin. The president was in ill health and losing
badly in polls to a resurgent Communist Party. His role in this successful effort also earned
him a seat on the board of Russia’s largest television network, ORT (now called Channel


21 http://www.forbes.com/profile/mikhail-fridman/
22 http://www.forbes.com/profile/pyotr-aven/
23 http://www.ft.com/cms/s/0/b47de3d4-c325-11e4-ac3d-00144feab7de.html#axzz4IwVVcBT6
24 See ‘Sale of the Century’ (2000) by former Financial Times Moscow Correspondent Chrystia Freeland




                                                                                                        6

                                                                                             FBI_ALFA_000065
                                                                                          SCO_FBIPROD_000065
                                                                                                       SCO-001664
        Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 7 of 14

One), alongside Vladislav Surkov. Notably, the state-owned station was under the de facto
control of tycoon Boris Berezovsky at the time.

After Putin came to power, Fridman was positioned in the Russian media as a liberal figure.
It is claimed that Fridman’s picture was even carried by anti-regime protestors in 2007,
underlining his ambiguous public position. Yet it was precisely at this time that Fridman was
spearheading some of Alfa Group’s harshest shareholder disputes and taking advantage of
political cover from the Kremlin.

In terms of outright criminality, as outlined above, the Center for Public Integrity article
accused Fridman of participating in crimes ranging from trafficking in narcotics to
association with organized crime. Russian investigative journalist Oleg Lurie had also
published these claims, although he was forced to retract them.

Civil Liberties Fund, a group linked to Berezovsky, accused Fridman of masterminding the
brutal murder of Ukrainian journalist Grigory Gongadze 25 . A Moscow newspaper was
successfully sued for libel in 2004, when it linked Fridman to the murder of Paul Klebnikov,
a US citizen writing for the Russian edition of Forbes 26. Both crimes remain unsolved.

It is likely impossible to ever uncover the truth regarding the early activities of Fridman and
Alfa Eko and most observers credit him with appearing to have relatively clean hands in
terms of physical violence. However, it is clear that Fridman has been the mastermind of
Alfa Group’s combative style of doing business. He has also been willing to pay top dollar to
recruit respected businesspeople and politicians to the boards of his companies to buy
respectability and leverage Western institutions for his own ends.

It has been important for Alfa Group for Fridman to appear to be the one in charge and
mastermind of its projects. However, most political observers view Aven as the one with the
critical political relationship with President Putin going back to the early 1990s. As Aven
leads Alfa Bank, the “clean” asset in the group, he has not been publicly involved in Alfa’s
contentious deals. In this view, it is important Fridman appear to be the colorful figure and
dealmaker.


Peter Aven Background

Peter (Pyotr) Aven was born on March 16, 1955 in Moscow to a relatively prominent family.
His father, Oleg Aven, was a leading Russian mathematician who died in 1992. His father
was a department head at the Institute of Problems of Management of the Academy of
Sciences of the USSR. His paternal grandfather, Ivan Aven, served in the famous Latvian
Rifle Division, which played a crucial role in the 1917 revolution.

Aven completed his studies at the Moscow School of Physics and Mathematics 2, one of the
most prestigious schools in the USSR. He trained as an academic Economist and gained a

25   http://www.rferl.org/content/article/1070338.html
26   http://spitfirelist.com/news/alfa-bank-wins-libel-case-over-klebnikov-murder-claims/


                                                                                                        7

                                                                                               FBI_ALFA_000066
                                                                                            SCO_FBIPROD_000066
                                                                                                     SCO-001665
     Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 8 of 14

PhD in Econometrics from Moscow State University. His faculty adviser was Stanislav
Shatalin, who later became an economic advisor to Soviet leader Mikhail Gorbachev and
Russian President, Boris Yeltsin.

As a young economist in this era, Aven quickly developed ties with emerging reform figures.
He was reportedly close to Yegor Gaidar, a former university classmate and Russia’s first
post-Soviet prime minister. In turn, Gaidar introduced Aven to Anatoly Chubais, the head of
an informal ‘club’ of economists based in Leningrad in 1985 that included such figures as
Alfred Kokh (future head of the State Property Committee) and Alexei Kudrin (finance
minister and presidential advisor)

In 1989, Aven was appointed Economic advisor in the Ministry of Foreign Affairs of the
USSR. From 1991 to 1992, he was the Minister for Foreign Economic Liaison of the last
Soviet and Russian government. In this role, he appointed Vladimir Putin, at that time head
of the Committee of Foreign Economic Relations of St Petersburg, the ministry’s
“representative in St Petersburg”. This allowed Putin the autonomy to register independently
new joint ventures to conduct foreign trade – in essence delegating the ministry’s functions
to Putin on an exceptional basis. As Karen Dawisha has chronicled, Aven intervened more
than once to support Putin when he came into conflict with other government bodies 27.

During his short tenure in government, Aven’s deputy was Mikhail Fradkov. In 2004,
Fradkov replaced Mikhail Kasyanov as Russian prime minister, a position he held until
September 2007. Fradkov is currently head of the powerful Foreign Intelligence Service
(SVR) and is today believed to be a key Alfa Group ally in senior Russian government
circles.

After leaving government in 1992, Aven briefly went to work for early post-Soviet oligarch
Boris Berezovsky, who was his former university supervisor and later became president of
the automobile dealership network LogoVAZ. LogoVAZ was the main dealer for AvtoVAZ,
the Tolyatti-based producer of Lada automobiles and the country’s largest automobile
manufacturer. Berezovsky later went into exile in Britain and his actions at LogoVAZ were
central to Russia’s extradition request to the UK in 2003 28.

Aven joined Alfa Group in 1993 and became president of Alfa Bank in 1994. He brought no
capital, but had powerful political connections and working knowledge of how financial
markets functioned. Notably, with the help of his political contacts, Alfa Eko became a
major exporter of oil and Petroleum products by 1993 and made use of sophisticated
transfer pricing arrangements.

Since the beginning of his tenure, Aven’s role as president of Alfa Bank has always been
strategic, and he has delegated day-to-day operations to a series of CEOs. He also brought in
Andrei Gafin, an old friend with no banking experience, to do PR for the bank. Notably,
Aven was given credit for seeing Alfa Bank through the financial crisis, having anticipated
the currency crash if not the sovereign default.

27“Putin’s Kleptocracy: Who Owns Russia,” Karen Dawisha, accessed electronically
28http://www.nytimes.com/2003/03/26/world/britain-arrests-russian-expatriate-billionaire-and-a-
colleague.html


                                                                                                     8

                                                                                            FBI_ALFA_000067
                                                                                         SCO_FBIPROD_000067
                                                                                                  SCO-001666
     Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 9 of 14


In the 2000s, Aven has positioned himself as the president of Alfa Bank and the chairman of
various, uncontroversial media and retail ventures. He has sought to play down his close
relationship with the Kremlin. He received an award in 2015 for “Services to the Fatherland”
along with four other business figures 29.

Notably, Financial Times journalist Andrew Jack noted in his book Inside Putin’s Russia that
during an interview in which Aven was downplaying any government connections, Aven
received a call about a senior resignation in the government that was not made public until
three days later.

It is clear that Aven remains the key political figure in Alfa Group, with multiple current
links to the government and security services, as outlined above. He has also driven the
development of international links through the expansion of Alfa Bank in the US and
Europe. The bank has carried out careful outreach, running an international Alfa Fellows
program and maintaining a high profile. Although not itself a target, the bank has suffered
from sanctions however, and has a particular interest in lifting sanctions 30.

Aven has spent years cultivating relationships in Washington, both as an envoy of Vladimir
Putin on trade matters and a representative of the interests of Alfa Group. He is well
prepared to support and promote a political agenda in the US if it suits Russia and Alfa.



Richard Burt

Burt plays a big role in Alfa’s “deep lobbying” program of spreading donations to influential
groups in the US. A former top BGR executive, he is now a managing director of McLarty
Associates and a member of Alfa’s International Advisory Council. He is also the owner of
a small consultancy, IEP Advisors, with historical links to Alfa. Burt, a former US
Ambassador to Germany, also works with Deutsche Bank, the only major bank still willing
to lend substantial sums to the Trump Organization despite Trump’s multiple bankruptcies.




29http://www.gazeta.ru/business/news/2015/05/29/n_7241257.shtml
30http://www.bloomberg.com/news/articles/2014-08-22/sanctions-free-no-shield-for-alfa-in-wary-market-
russia-credit


                                                                                                        9

                                                                                          FBI_ALFA_000068
                                                                                       SCO_FBIPROD_000068
                                                                                                SCO-001667
     Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 10 of 14




Burt has acknowledged that he played a significant role in writing Trump’s first major
foreign policy speech. “I was asked to provide a draft for that speech. And parts of that
- of my draft -- survived into the final,” he told NPR. 31

In the April 27 “America First” speech, Trump laid out an isolationist foreign policy. He
criticized NATO and promised he would pursue better relations with Russia-- skipping over
its invasions of its neighbors and human rights abuses. 32

Burt has extensive ties to both Alfa and the Kremlin-backed aluminum oligarch Oleg
Deripaska. Like Paul Manafort and Carter Page, Burt was a foreign policy advisor to Sen.
John McCain for his 2008 presidential campaign. As has been widely reported, Manafort has
had extensive business dealings with Deripaska and stands accused of absconding with at
least $19 million of Deripaska’s money. The true amount is believed to by much higher.

Burt’s ties to Alfa stretch back to the early years of the George W. Bush presidency when he
was working for Barbour Griffith & Rogers. BGR first landed Alfa as a client in December
of 2002 for “monitoring economic development and policy issues.” In its lobbying reports
for 2011, BGR reported receiving $570,000 in fees from Alfa. While that is a generous sum,



31 http://www.npr.org/2016/05/14/478040422/trump-s-america-first-foreign-policy-as-a-strategy-to-pursue-
national-interests-
32 http://www.nytimes.com/2016/04/28/us/politics/transcript-trump-foreign-policy.html




                                                                                                      10

                                                                                             FBI_ALFA_000069
                                                                                         SCO_FBIPROD_000069
                                                                                                  SCO-001668
       Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 11 of 14

it likely understates by a large margin the fees BGR took in. BGR claimed in its filings that it
lobbied for Alfa regarding “US-Russian and WTO negotiations,” an elastic term.

When the lobbying firm BGR decided to form a private intelligence consultancy in 2003
called Diligence LLC, it installed Burt as the president. One of the firm’s first assignments
was working for Alfa, which at the time was pursuing a libel suit against an NGO called the
Center for Public Integrity.

A former journalist working for CPI, Knut Royce, published an article linking Alfa to
criminal activity. The article and subsequent court case involved a KGB report on Alfa
provided to CPI by Rick Palmer, a former CIA official, alleging narcotics trafficking and
other criminal activity.

Diligence also investigated a reporter from The Wall Street Journal who had contacted the CPI
regarding the Alfa libel case. Private investigators for Diligence conducted a trash-stealing
operation against the personal residence of the journalist. The operation was eventually
exposed by an insider at Diligence. The affair caused high-level consternation in Washington
due to a bizarre snafu: Unknown to the Diligence investigators, the reporter had vacated his
home and rented it to a top White House official. That led to a confidential national security
investigation of possible espionage by Alfa.

The lawsuit was dismissed, no charges were brought, and the controversy eventually blew
over. In 2007, Burt sold his personal stake in Diligence and left BGR for McLarty
Associates.

Burt continued to cultivate influence in Washington for Alfa, working closely with the
Wilson Center, which bestowed awards on Fridman and Aven and feted them at annual
dinners. Burt also helped run the Alfa Fellowship Program, which sponsored internships in
US agencies including the State Department. 33

Aven and Fridman in May 2008 also obtained a private meeting with US Treasury Sec.
Henry Paulson at the Treasury headquarters building next to the White House. After
Obama took office, a series of additional meetings took place. The meetings were arranged
by Alfa’s two top lobbyists, former diplomat Richard Burt and former White House official
Ed Rogers. While they now run separate firms, Burt and Rogers have long collaborated
closely to advance Alfa’s interests in Washington, including aggressive intelligence gathering
operations against journalists and others who threaten Alfa’s interests.

The first meeting took place on May 13, 2010. Fridman and Aven visited a top White House
official named David Lipton. They were accompanied by a former diplomat named Stephen
Rademaker, now a lobbyist working for Ed Rogers. On May 12, 2011, Fridman, Aven, and
Richard Burt were admitted to the Old Executive Office Building a second time. They were
signed in by a White House special assistant named Groslyn Foster Burton. But it is likely
they visited a more senior official whose name was kept off the records, probably David


33   http://www.culturalvistas.org/alfa-fellowship/russia-alfa-fellowship-program-celebrates-10th-anniversary



                                                                                                                11

                                                                                                  FBI_ALFA_000070
                                                                                               SCO_FBIPROD_000070
                                                                                                        SCO-001669
           Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 12 of 14

Lipton again, given that Ms. Burton is his assistant. Lipton is a longtime associate of Leonard
Blavatnik (See below). He recently took a new position at the International Monetary Fund.


The 2011 Meeting Record

 NAMEFIRST      NAMELAST           TOA               TOD          visitee1   visitee2
 Richard        Burt          5/12/2011 15:44   5/12/2011 16:55   Groslyn    Burton
 Mikhail        Fridman       5/12/2011 15:45   5/12/2011 16:55   Groslyn    Burton
 Peter          Olegovich     5/12/2011 15:47   5/12/2011 16:55   Groslyn    Burton


It is notable that the three high-level visits all occurred in May, suggesting the possibility that
Fridman and Aven visit Washington annually in May for a charitable event. One charitable
event held annually in May is the annual fundraising dinner for the Kennan Institute at the
Woodrow Wilson International Center for Scholars. Access Industries and Alfa lawyers Akin
Gump are both supporters of the Wilson Center, while Blavatnik is vice chairman of the
Kennan Institute.

The final Fridman visit to the White House took place around the same time in 2012 (May
8), suggesting it was also in conjunction with the Wilson Center annual event. Attendees
were Mikhail Fridman, Petr Aven, Richard Burt, and John W. Roberts. They met with Alice
Wells, Special Assistant to the President for Russia and Central Asia and former
executive assistant to Sec. of State Hillary Clinton.

 NAMELAST         NAMEFIRST         NAMEMID         UIN             APPT_START_DATE APPT_END_DATE
 Aven             Petr              O               U05460                5/17/12 15:00 5/17/12 23:59
 Burt             Richard           R               U05460                5/17/12 15:00 5/17/12 23:59
 Fridman          Mikhail           M               U05460                5/17/12 15:00 5/17/12 23:59
 Roberts          John              W               U05460                5/17/12 15:00 5/17/12 23:59


The White House-Treasury meetings in 2008 are somewhat remarkable: US agencies possess
substantial information alleging criminal activity by Aven and Fridman, including organized
crime and narcotics trafficking. Alfa was also the subject of a lengthy money-laundering and
stock manipulation investigation by the Manhattan District Attorney that was ultimately
shelved. While the allegations against Alfa and its founders are considered to be
unsubstantiated, the mere existence of such derogatory allegations – some of which have
even been aired publicly – is often enough to preclude entry into the executive complex.

But unlike many of their Russian peers, Aven and Fridman are not officially listed in US law
enforcement files as organized crime figures. This has given them largely unfettered access
to the United States, and they make frequent visits to Washington to appear at policy forums
and other events. It is believed that these trips sometimes include small dinners with top
Washington officials or other similar types of “off the record” encounters.




                                                                                                12

                                                                                               FBI_ALFA_000071
                                                                                           SCO_FBIPROD_000071
                                                                                                    SCO-001670
       Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 13 of 14


Akin Gump

The Alfa libel case against CPI nearly bankrupted the CPI. Ultimately, it was dismissed by a
federal judge in 2005. The law firm for Alfa in the libel case was Akin Gump, where top
lawyers James Langdon and Mark MacDougall represent the group. Langdon is an
influential Republican with intelligence connections while MacDougall is a Democrat with
Justice Department connections and a fierce litigation style.

Akin Gump lobbied for Alfa/Vimpelcom/Altimo during its lengthy battle with Telenor, and
also advised Altimo on various legal matters.

Akin Gump handed Alfa its biggest political victory in Washington in connection with
Tyumen Oil loan guarantees from the Export-Import Bank. BP Amoco mounted a
sustained campaign to delay or block those loan guarantees, but TNK prevailed thanks to
deft lobbying by Langdon, a former Navy intelligence officer and member of President
George W. Bush’s Foreign Intelligence Advisory Board, a high-level external advisory group
to the White House. During the controversy, information was provided to US officials
alleging illegal oil dealings between Alfa and Saddam Hussein. The information was later
substantiated by the United Nations. Blavatnik played a major role in this battle, which was
chronicled in an unusually detailed Washington Post article. 34


Blavatnik’s Ties to Democrats

While Rogers is a well-known Republican, the group has very powerful Democratic ties
through Blavatnik, who is particularly close to Secretary of State Hillary Clinton through
extensive donations to her campaigns and causes. The Blavatnik family have also contributed
heavily to the campaigns of Vice President Joe Biden.

Records show the Blavatnik family have given more than $300,000 in contributions since
1996. Employees of Renova and Access have given another $700,000. Emily Blatanik gave
$35,800 to the Obama campaign in August of 2011.

Blavatnik also enjoys influence through is longstanding ties to a group of Harvard
economists including former Treasury Sec. Larry Summers (who chaired the Obama White
House economic council until 2010), Jeffrey Sachs, David Lipton, and Andrei Shleifer.
Sachs, Shleifer, Lipton and Sachs were the subject of a criminal fraud investigation involving
Harvard’s dealings in Russia during the privatization era. This matter was detailed in a major
2006 investigative report in a business magazine. 35

Access is represented in Washington by the lobbying firm Brownstein Hyatt, which reported
receiving $330,000 to lobby on tax issues and various other matters. Brownstein Hyatt is a
top Democratic lobbying firm.

34   http://www.washingtonpost.com/wp-srv/WPcap/1999-10/27/085r-102799-idx.html
35   http://janinewedel.info/harvardinvestigative_InstInvestorMag.pdf



                                                                                             13

                                                                                     FBI_ALFA_000072
                                                                                  SCO_FBIPROD_000072
                                                                                           SCO-001671
      Case 1:21-cr-00582-CRC Document 64-2 Filed 04/06/22 Page 14 of 14


Alfa’s Soft Lobbying

Donations by Alfa/Access to influential US think tanks include large sums to the Rand
Institute, which is affiliated with the Pentagon, the Center for Strategic & International
Studies, the Wilson Center, the Council on Foreign Relations, and the Atlantic Council.

Alfa also maintains a well-funded fellowship program whose recipients often land important
jobs in the US. Alumni include:

         Marcy Fowler, now at the IAEA.
         James Lindley, US Dept. of Commerce
         Rachel Mikeska, Department of State (currently in Kuwait).
         Francoise Schorosch, Council of the Americas
         Scott Schrum, National Nuclear Security Administration
         Nadezhda Mouzykina, National Democratic Institute
         Raisa Sheynberg, Treasury Department
         Ilona Tservil, Justice Department
         David Wright, Treasury Department
         Michael Kreidler, State Department

Alfa also maintains the Altimo Foundation, which maintains primarily a UK focus but
employs the influential US lobbying firm APCO.


-0-




                                                                                             14

                                                                                    FBI_ALFA_000073
                                                                                 SCO_FBIPROD_000073
                                                                                          SCO-001672
